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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN
SHUMATE, BRITTANY TATIANA WEAVER,
and CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                   Plaintiffs,
      v.

BROWN UNIVERSITY, CALIFORNIA                 Case No.: 1:22-cv-00125
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF
COLUMBIA UNIVERSITY IN THE CITY OF           Hon. Matthew F. Kennelly
NEW YORK, CORNELL UNIVERSITY,
TRUSTEES OF DARTMOUTH COLLEGE,
DUKE UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS
HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY,
NORTHWESTERN UNIVERSITY,
UNIVERSITY OF NOTRE DAME DU LAC,
THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY,
and YALE UNIVERSITY,

                   Defendants.


     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
  PRELIMINARY APPROVAL OF SETTLEMENTS WITH DEFENDANTS BROWN
  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF
NEW YORK, DUKE UNIVERSITY, EMORY UNIVERSITY, AND YALE UNIVERSITY,
   PROVISIONAL CERTIFICATION OF THE PROPOSED SETTLEMENT CLASS,
     APPROVAL OF THE REVISED NOTICE PLAN, AND APPROVAL OF THE
        SCHEDULE FOR COMPLETING THE SETTLEMENT PROCESS
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         On September 9, 2023, the Court preliminarily approved the Plaintiffs’ proposed class

settlement with Defendant University of Chicago. See ECF No. 439 (“University of Chicago

Preliminary Approval Order”). Subsequently, Plaintiffs executed settlement agreements with five

additional Defendants, namely Brown University (“Brown”), The Trustees of Columbia

University in the City of New York (“Columbia”), Duke University (“Duke”), Emory University

(“Emory”), and Yale University (“Yale”) (these settling Defendants collectively, the “Second

Tranche Settling Universities” or “Second Tranche Settling Defendants;” and these settlements,

the “Second Tranche Settlements”).1 For efficiency purposes and to avoid class member

confusion, Plaintiffs are requesting that the Court combine the approval process for the

University of Chicago Settlement with all five of the Second Tranche Settlements (collectively,

the “Settlements” and “Settling Defendants” or “Settling Universities”) and conform the class

definitions applicable to the University of Chicago Settlement to the class definitions applicable

to the Second Tranche Settlements.

         The six Settlements achieved to date collectively provide $118 million in cash payments

for the benefit of the Settlement Class. In addition, each Settling Defendant has agreed to

complete certain additional, limited discovery. Plaintiffs submit this Memorandum of Law in

support of preliminary approval of the Second Tranche Settlements, provisional certification of

the proposed settlement class, approval of the revised notice plan, approval of the revised

allocation plan, approval of the conformed University of Chicago Settlement class definition, and

approval of the revised schedule for completing the settlement process for all six Settlements

achieved to date.


1
 As the parties previously informed the Court, Plaintiffs have also reached an agreement in principle with
Vanderbilt University (“Vanderbilt”) (ECF No. 525). The parties are in the process of finalizing that
Settlement Agreement.
                                                    1
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I.       INTRODUCTION

         Plaintiffs entered a settlement agreement with Defendant University of Chicago on

August 7, 2023. The Court provisionally certified the proposed settlement class, provisionally

approved the proposed allocation plan, and preliminarily approved the University of Chicago

Settlement on September 9, 2023. See ECF No. 439. On November 22, 2023, the Plaintiffs

notified the Court that they had reached agreements in principle with certain additional

Defendants. See ECF No. 525. Upon being notified of additional settlements, and at the parties’

request, the Court suspended the dates for issuance of notice and for a final approval hearing that

had been set forth in the University of Chicago Preliminary Approval Order. See ECF No. 530.

The Court set January 23, 2024 as the deadline for filing for preliminary approval of any of the

Second Tranche Settlements that could be completed by that date. See ECF Nos. 587 & 588.

         In addition to the University of Chicago Settlement, Plaintiffs have now executed

separate settlement agreements with each of the five Second Tranche Settling Defendants:

Brown, Columbia, Duke, Emory, and Yale. The terms of these settlements are set forth in

separate agreements with each Settling University (collectively referred to as the “Settlement

Agreements”).2 The Settlement Agreements are substantively similar in that each Second

Tranche Settling University agreed to (a) make a cash payment to Plaintiffs and the proposed

Settlement Class (defined below and in the Settlement Agreements), (b) complete additional,

limited discovery, in exchange for Plaintiffs’ agreement to dismiss their claims (on their own

behalf and on behalf of the Settlement Class) against each Settling Defendant with prejudice, and

(c) provide certain releases.


2
 The Second Tranche Settlement Agreements are attached at Exhibits 1-5 to the Joint Declaration of
Settlement Class Counsel, dated January 23, 2024 (“Jan. 23, 2024 Joint Decl.”), filed in support of this
Motion.
                                                     2
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       Moreover, for efficiency purposes and to avoid class member confusion, the Plaintiffs

and the University of Chicago have agreed to modify the Settlement Class definition set forth in

their settlement agreement, ECF No. 428-3, Ex. A (“University of Chicago Settlement

Agreement”), to conform to the definition in the Second Tranche Settlement Agreements. For

instance, because the end date of the Class Period for the Second Tranche Settlements will run

through the date of preliminary approval of the Second Tranche Settlements, so too would the

end date for the Class Period for the University of Chicago Settlement by deeming the date of

entry of an order entered pursuant to this motion as the date of preliminary approval of the

University of Chicago Settlement. These accommodations will allow a common class notice, to a

commonly defined class, for the University of Chicago Settlement and the Second Tranche

Settlements.

       The Second Tranche Settling Universities have agreed to make the following payments to

Plaintiffs and the Settlement Class:

              Emory: $18.5 million.

              Yale: $18.5 million.

              Brown: $19.5 million.

              Columbia: $24 million.

              Duke: $24 million.

       These additional settlements collectively amount to $104.5 million, and with the

preliminarily approved University of Chicago Settlement ($13.5 million), the six Settlements

achieved to date total $118 million in aggregate cash payments for the benefit of the Settlement

Class. These Settlements are an excellent result in absolute terms. See Jan. 23, 2024 Joint Decl. ¶

8. Moreover, the Settlements are a great achievement given that the litigation continues against

                                                 3
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several additional Defendants, each of which is jointly and severally liable for any and all provable

damages suffered by the class. See id.

        Plaintiffs and the Second Tranche Settling Universities entered into the Second Tranche

Settlement Agreements after two years of hard-fought litigation, including significant fact

discovery. Id. ¶¶ 9-16. Further, each agreement was the result of extensive arm’s length

negotiations with each of the Settling Defendants. Some of the negotiations occurred between

Plaintiffs and a single Defendant, and some took place between Plaintiffs and a pair of

Defendants. Moreover, certain of the Second Tranche Settlements were achieved with the able

assistance of renowned mediator, former U.S. District Court Judge Layn Phillips and his

colleagues Miles Rothenberg and Clay Cogman at Phillips ADR. Id. ¶ 19.

        After each settlement in principle was reached with a Settling Defendant (or pairs of

Settling Defendants, where agreements were reached simultaneously or nearly so), Plaintiffs

executed a strategy of increasing the settlement amounts with each successive agreement or set

of agreements. Id. ¶ 20. This approach was designed to put pressure on the non-settling

Defendants to settle imminently or risk having to pay significantly more by waiting.

        Counsel for the parties involved in these Second Tranche Settlement Agreements are

highly experienced in antitrust litigation and well-positioned to assess the risks and merits of the

case. Plaintiffs have reasonably concluded that the proposed cash settlements are in the best

interests of the Settlement Class given that, if finally approved, the Settlements would assure the

Settlement Class of a significant cash recovery without diminishing the joint and several liability

of the remaining non-settling Defendants. See id. ¶ 8.3 Moreover, under the Settlement



3
 “Defendants” is defined in each Settlement Agreement at pp. 1-2. See Exhibits 1-5 of the Jan. 23, 2024
Joint Decl.
                                                    4
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Agreements, Plaintiffs will have the benefit of obtaining certain additional discovery from each

of the Second Tranche Settling Universities. See id. ¶ 21. The Settlements avoid the inherent

risks of summary judgment, trial, and potential appeal, while preserving the ability to recover all

the damages allegedly suffered by the Settlement Class from the remaining non-settling

Defendants. See id. ¶ 8. For these reasons, and as further detailed below, the Second Tranche

Settlements satisfy the requirements for preliminary approval, just as the University of Chicago

Settlement did before them. See id. ¶¶ 26 & n.3, 28, 30.

       Plaintiffs propose a consolidated notice program for the Settlements, i.e., it is Plaintiffs’

intention that the approval process for the University of Chicago Settlement, the Second Tranche

Settlements, and (once finalized) the Vanderbilt settlement would proceed together. This plan

will be efficient and straightforward for Settlement Class members. Plaintiffs’ new long-form

and summary class notices are substantially similar to, and build off of, the notices that the Court

approved as part of the University of Chicago Settlement, ECF Nos. 439 (approving notices and

notice plan), 428-9 (summary notice), 428-10 (long-form notice). The new, revised forms of

notice are updated to include information about all Settlements to date.4 They also provide the

revised Settlement Class definition (which shall apply to all Settlements) and forms of release as

they appear in the Second Tranche Settlements. Counsel for University of Chicago and the

Second Tranche Universities consent to the new proposed revised forms of notice.

       Aside from updating the forms of notice, Plaintiffs propose a substantially similar notice

plan and plan of allocation of the net settlement funds to members of the Settlement Class to

those which the Court approved as part of the University of Chicago Preliminary Approval



4
 The new long-form and summary notices are attached to the Jan. 22, 2024 Weisbrot Declaration as Exs.
A (Revised Summary Notice) and B (Revised Long-Form Notice).
                                                  5
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Order. Compare Declaration of Steven Weisbrot, Esq. of Angeion Group LLC re the Proposed

Revised Notice Plan, Jan. 22, 2024 (the “Jan. 22, 2024 Weisbrot Decl.”) (describing the

“Revised Notice Plan”) with Aug. 14, 2023 Weisbrot Decl., ECF No. 428-7 (describing the

“Notice Plan”). Plaintiffs propose the following schedule for the remainder of the settlement

approval process for all Settlements, and respectfully request that the Court enter a proposed

order, which has been submitted to the Court), providing as follows:

       1.      Provisional certification of the proposed Settlement Class (defined below);

       2.      Provisional appointment of Plaintiffs as Class Representatives;

       3.      Appointment of Plaintiffs’ counsel as Settlement Class Counsel for the proposed
               Settlement Class;

       4.      Preliminary approval of the proposed Second Tranche Settlement Agreements, and
               confirmation of the preliminary approval of the University of Chicago Settlement
               Agreement;

       5.      Conforming the class definition applicable to the University of Chicago
               Settlement Agreement to the class definitions applicable to the Second Tranche
               Settlements;

       6.      Approval of the proposed revised plan for notice to the Settlement Class (the
               “Revised Notice Plan”), including a set of revised long-form and summary notices,
               and a settlement website as described below and in the Declaration of Settlement
               Claims Administrator, Steven Weisbrot of Angeion Group (i.e., the Jan. 22, 2024
               Weisbrot Decl.);

       7.      Pursuant to 34 C.F.R. § 99.37(a), finding that mailing addresses and email
               addresses in education records of current students of a Defendant constitute
               “directory information” and may be disclosed, without consent, to the Settlement
               Claims Administrator for purposes of providing class notice in this litigation if (a)
               the Defendant has previously provided public notice that the mailing addresses
               and email addresses are considered “directory information” that may be disclosed
               to third parties including public notice of how students may restrict the disclosure
               of such information, and (b) the student has not exercised a right to block
               disclosure of current mailing addresses or email addresses (“FERPA Block”).
               Defendants shall not disclose from education records mailing addresses or email
               addresses subject to a FERPA Block;

       8.      Pursuant to 34 C.F.R. § 99.37(b), finding that mailing addresses and email
               addresses in education records of former students of a Defendant constitute
                                                6
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            “directory information” and may be disclosed, without consent, to the Settlement
            Claims Administrator for purposes of providing class notice in this litigation,
            provided that each Defendant continues to honor any valid and un-rescinded
            FERPA Block created while a student was in attendance;

      9.    Preliminary approval of the Revised Plan of Allocation for Settlements with
            University of Chicago and the Five Additional Settling Defendants (the “Revised
            Plan of Allocation” or “Revised Plan”) (Exhibit 7 to the Jan. 23, 2024 Joint Decl.);

      10.   Appointment of Angeion Group as Settlement Claims Administrator;

      11.   Appointment of The Huntington National Bank (“Huntington”) as Escrow Agent
            for the funds from all the Settlements achieved to date and approval of the
            Custodian/Escrow Agreement for Second Tranche Settlements, dated Jan. 23,
            2024 (the “Jan. 23, 2024 Escrow Agreement”), attached at Exhibit 6 to Jan. 23,
            2024 Joint Decl.);

      12.   Approval and establishment of the Settlement Fund under the Settlement
            Agreement as a qualified settlement fund (“QSF”) pursuant to Internal Revenue
            Code Section 468B and the Treasury Regulations promulgated thereunder;

      13.   Staying of all litigation activity against the Settling Universities on behalf of the
            Settlement Class pending final approval or termination of the Settlements; and

      14.   Approval of a proposed schedule for the Settlements, including the scheduling of
            a Fairness Hearing during which the Court will consider: (a) Plaintiffs’ request for
            final approval of the Settlements (including the University of Chicago Settlement)
            and entry of a proposed order and final judgment; (b) Plaintiffs’ counsel’s
            application for attorneys’ fees, reimbursement of expenses, service awards, and
            payment of administrative costs; and (c) Plaintiffs’ request for dismissal of this
            action only against the Settling Universities (including University of Chicago)
            with prejudice.




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II.     BACKGROUND

        A.        Plaintiffs’ Claims and Procedural Background

        On January 9, 2022, Plaintiffs filed their complaint, which was subsequently amended

(collectively, the “Complaint”), alleging that sixteen elite universities violated the antitrust laws

by agreeing on a common formula and common principles regarding financial aid, and by

exchanging competitively sensitive information concerning financial aid principles, formulas,

and pricing. See ECF No. 1, Henry, et al. v. Brown University, et al., No. 22-cv-00125 (N.D.

Ill.). Plaintiffs subsequently amended the Complaint to include a seventeenth university

Defendant (Johns Hopkins University). ECF No. 106.5 From April through August 2022, the

parties engaged in briefing and argument on Defendants’ motions to dismiss. Defendants

asserted in their motions that (a) Defendants fell within a statutory antitrust exemption, (b)

Plaintiffs had failed to state a claim under the antitrust laws and failed to plausibly allege

antitrust injury, and (c) several of the claims were time barred. Defendants Brown, Emory,

University of Chicago, and Johns Hopkins also filed a separate motion contending that Plaintiffs

did not plausibly allege that these four Defendants were members of the alleged cartel during the

relevant period. See generally Jan. 23, 2024 Joint Decl. ¶ 10. Yale also filed a separate motion

to dismiss. Id.

        On August 15, 2022, the Court denied Defendants’ motions in their entirety. See ECF No.

185, Carbone v. Brown Univ., 621 F. Supp. 3d 878 (N.D. Ill. 2022). Since that time, the parties

have engaged in extensive fact discovery. Plaintiffs have produced nearly 4,000 of their own



5
  Plaintiffs filed a Second Amended Complaint on February 6, 2023, ECF No. 308, which reflected the
fact that the Section 568 exemption expired in September 2022 and that the 568 Presidents Group
formally dissolved, see Mot. for Leave to File Second Amended Compl., ECF No. 266 at 1. The Second
Amended Complaint also limited the proposed class to students. Id.
                                                  8
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documents to Defendants and have secured the production of more than one million documents

from the Defendants and third parties, including over 400,000 documents from the Second

Tranche Settling Universities and Vanderbilt. See generally Jan. 23, 2024 Joint Decl. ¶¶ 12-13.

Plaintiffs have also taken over fifty fact depositions of non-settling Defendants and Settling

Defendants and defended nine fact depositions to date. Id. ¶¶ 12, 15.

       B.      Settlement Negotiations and the Proposed Settlements

       In April 2023, Plaintiffs initiated settlement discussions with the University of Chicago

with the goal of having the University of Chicago be the first Defendant to settle. By August 7,

2023, an agreement to settle with the University of Chicago was signed, which settlement the

Court preliminarily approved on September 9, 2023. ECF No. 439. Also in 2023, Plaintiffs

pursued negotiations with each of the Settling Universities and Vanderbilt, sometimes

individually and sometimes in pairs. See Jan. 23, 2024 Joint Decl. ¶ 9. Several of the agreements

were achieved through experienced mediators from Phillips ADR, and some in direct

negotiations. Id. ¶ 19. Over a period of roughly 16 weeks of intense negotiations, Plaintiffs

reached settlements in principle with all six schools, and then formal settlement agreements with

each of the Second Tranche Settling Universities. See id. ¶¶ 19-20. In agreeing to each

settlement, Plaintiffs’ counsel assessed the merits of Plaintiffs’ claims, each Settling University’s

defenses, and the risks of continuing to litigate. Plaintiffs also evaluated the benefits of continued

discovery post-settlement from each Settling University (provided for in the Settlement

Agreements), and the fact that due to joint and several liability, a settlement with any one

Settling University would not reduce the exposure of the remaining Defendants. See id. ¶ 8.

Plaintiffs ultimately concluded that each settlement was in the best interests of the proposed

Settlement Class. See id. ¶¶ 25-26.

                                                  9
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                1.      Monetary Relief.

        Under the terms of the Settlement Agreements, the Second Tranche Settling Universities

will pay a total of $104.5 million in cash for the benefit of all Settlement Class members in

exchange for dismissal of the litigation between Plaintiffs and the Settling Universities only,

along with certain releases. The total cash value of all the settlements achieved to date, when

combined with the University of Chicago Settlement, is now $118 million. If the Settlements are

approved, none of the funds paid in the Settlements would revert to any of the Settling

Universities. The aggregate Settlement Fund will be distributed to members of the Settlement

Class according to a proposed Revised Plan of Allocation (summary discussed below), net of

payments for the expenses of the Settlement Claims Administrator and the costs of notice to the

Settlement Class, any service awards the Court awards to the Class Representatives, Court

awarded attorneys’ fees and expenses, and any other administrative fees or costs that may be

approved by the Court (“Net Settlement Fund”).

                2.      Completion of Discovery.

        As part of the Settlement Agreements, each Settling University has agreed to complete

certain additional, limited discovery, tailored to Plaintiffs’ discovery needs with respect to each

Settling University separately. See Settlement Agreement § 20.6 Among other things, each

Settling University agreed to: (a) work in good faith to resolve unanswered questions regarding

their respective data productions; (b) consider reasonable requests to produce additional relevant




6
 Because each Settlement Agreement is structured with the same format, citations to the Settlement
Agreements will use the singular form. Any citations unique to a specific Settlement Agreement will be
expressly noted. Plaintiffs note that the additional, limited discovery to which each Settling Defendant has
agreed, set forth in § 20 of each of the Settlement Agreements (attached to the Jan. 23, 2024 Joint Decl. as
Exhibits 1-5) varies for each Settling Defendant based on its individual circumstances and discovery
already taken as to that Settling Defendant.
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information, including documents, regarding undergraduate financial aid and the 568 Group; and

(c) facilitate authentication of certain documents it produced in discovery. Id.

               3.      Summary of Proposed Revised Plan of Allocation.

       The Revised Plan of Allocation is substantially similar to, and incorporates as Exhibit A

to the Revised Plan, the Plan of Allocation the Court approved for the University of Chicago

Settlement. Compare Ex. 7 to Jan. 23, 2024 Joint Decl., Revised Plan of Allocation with ECF

No. 428-6, Proposed Plan of Allocation for University of Chicago Settlement. All members of

the Settlement Class who timely submit claims (“Claimants”) will receive payments from the

Net Settlement Fund, pro rata, in proportion to an estimate of the damages allegedly suffered.

The Net Settlement Fund shall be disbursed in accordance with the Revised Plan to be approved

by the Court at the Final Approval Hearing.

       In short, under the Revised Plan, the proposed claims administrator, Angeion Group

(“Angeion”), will calculate each Claimant’s pro rata share of the Net Settlement Fund based on

the formula discussed below. The Revised Plan (which is based on the previously approved

Plan) was designed in conjunction with Dr. Ted Tatos, an economist with the Econ One

consulting group. See Ex. A to Revised Plan at 2. By way of background, Plaintiffs allege that

Defendants have conspired, through various activities undertaken as members of the “568

Presidents Group” (the “568 Group”), to deflate, artificially, the calculations of financial need of

Settlement Class members, which in turn artificially inflated the net price Class members paid to

attend Defendant institutions. See Complaint ¶¶ 7, 238, 241. The “Net Price,” as that term is used

here, includes the price of tuition, fees, room, and board minus all need-based and other forms of

aid (excluding loans). See Complaint ¶ 5. The website of the 568 Group acknowledged that one




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of its main goals was “to reduce much of the variance in need analysis results,” to “diminish or

eliminate . . . divergent results,” and to do so in a “consistent manner.” Id. ¶ 127.

        Plaintiffs allege the challenged conduct artificially inflated the Net Price Claimants paid

to attend each Defendant for each term a student attended. Given that Plaintiffs allege that the

challenged conduct sought to affect Net Prices in a “consistent manner,” it is reasonable to

conclude that Claimants suffered injury in rough proportion to the average Net Price charged by

each school during the years Claimants attended. In other words, because the alleged overcharge

is, roughly, a fixed percentage amount of the Net Price paid, a reasonable measure of the injury

to each Claimant is the average Net Price each Defendant University charged during each year or

term that Claimant attended.7 As a result, to achieve the dual goals of efficiency and fairness, the

Revised Plan proposes to allocate the Net Settlement Fund to each Claimant in proportion to the

average Net Price charged by the Defendant to each Claimant for each year or term during the

Class Period that such Claimant attended that institution. See Ex. A to Revised Plan at 3-4. This

method can be carried out mechanically based on the data available to the Claims Administrator

without requiring Claimants to provide any additional information or take any additional time

other than simply filing out a Claim Form at the appropriate time after final approval.8

        Finally, by agreement of the parties, if funds are left over after distribution to the

Settlement Class, and it is determined that it would be inefficient to conduct an additional


7
  Plaintiffs do not presently have sufficient data to determine the Net Price each individual Claimant paid
for each year he or she attended a Defendant. Further, it would not be efficient or practical to require each
Claimant, many of whom attended a Defendant more than a decade ago, to have records of the Net Prices
each paid. Accordingly, the Plan proposes to use publicly available average annual Net Prices charged by
each Defendant for each applicable academic year during the Class Period (defined in the Settlement
Agreements at pp. 4-5), published by the U.S. Department of Education, as an estimate of the net amounts
paid by Claimants. Ex. A to Revised Plan at 4-5.
8
  Plaintiffs intend to submit a proposal for a Claims Administration process, including a proposed form of
Claim Form, in conjunction with their memorandum of law in support of final approval.

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distribution, the Revised Plan calls for Plaintiffs to seek leave of Court to ask that such left over

funds by contributed to a charity focused on increasing access to college for lower income

students. Settlement Agreement ¶ 9; see also Revised Plan at 2.

                4.     Notice and Settlement Administration Costs.

        Settlement Class Counsel have retained Angeion, a highly experienced, well-regarded,

third-party claims administrator to provide notice to the Settlement Class and to handle the

administration of the claims. The proposed Revised Notice Plan is substantially similar to the

Notice Plan approved by the Court in the Chicago Preliminary Approval Order. Compare Jan.

22, 2024 Weisbrot Decl. (describing the “Revised Notice Plan”) with Aug. 14, 2023 Weisbrot

Decl., ECF No. 428-7 (describing the “Notice Plan”). The Revised Plan is set out in the Jan. 22,

2024 Weisbrot Decl. (attached hereto). The Revised Notice Plan includes, first, direct emailed

summary notice, Ex. A to Jan. 22, 2024 Weisbrot Decl., to the vast bulk of the Settlement

Class using the information already provided by the seventeen Defendants to Angeion.

Second, Angeion will send the long-form notice (id. at Ex. B) via the U.S. postal service to

those Settlement Class members who request it. Jan. 22, 2024 Weisbrot Decl. ¶ 12. Third,

Angeion will conduct a multi-tiered, robust media campaign strategically designed to provide

notice to the Settlement Class. The latter program includes targeted internet notice, social

media notice, a paid search campaign, and two press releases. Id. ¶ 13.

        In addition, there will be a toll-free telephone number where members of the Settlement

Class can learn more about their rights and options pursuant to the terms of the Settlements. Id. ¶¶

13, 39. The revised long-form notices, as well as the revised summary email/media campaign

notice, will communicate to members of the Settlement Class their rights and options under the

Settlements (including the University of Chicago Settlement) in plain, easily understood

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language. Finally, the Revised Notice Plan will also implement a case-specific Settlement

Website, where members of the Settlement Class can easily view general information about the

Settlements (including the University of Chicago Settlement), review relevant Court documents

(including the long-form notice), and find important dates and deadlines pertinent to the

settlement process. Id. ¶ 38. The Settlement Website will be user-friendly and make it easy for

members of the Settlement Class to find information about this case, request the long-form notice,

and later in the process after final approval: sign-up to receive a claim form and submit claims

online. Id.

                 5.      Release.

         In exchange for the monetary relief, the Settling Universities and certain related parties

 identified in the Settlement Agreements will receive a release of all claims Settlement Class

 members brought or could have brought arising out of or relating to a common nucleus of

 operative facts with those alleged in the Complaint (and Second Amended Complaint) through

 the date of preliminary approval. The release takes care not to release certain unrelated claims

 that might arise between the parties in the “ordinary course.” See Settlement Agreement ¶¶

 1(m), 13-14.

                 6.      Attorneys’ Fees and Costs for Settlement Class Counsel and Service
                         Awards for Class Representatives.

         Settlement Class Counsel intend to make an application to the Court for a reasonable

attorneys’ fee award in an amount not to exceed one-third of the gross Settlement Fund (i.e., 1/3

of $118 million, or $39.33 million), plus one-third of any accrued interest on the gross

Settlement Fund, plus reimbursement of all reasonably incurred expenses during the

investigation and litigation of this case to date.


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        Settlement Class Counsel will also seek service awards for Class Representatives to be

paid from the Settlement Fund, in an amount up to $20,000 for each of the eight Class

Representatives ($160,000 total).9 Each class representative reviewed the Complaint, produced

documents, sat for a deposition, and devoted substantial time and energy to the matter to date.

Jan. 23, 2024 Joint Decl. ¶¶ 7, 13. But for the service of the Class Representatives, members of

the Settlement Class would have gone uncompensated for the alleged damages they suffered due

to the conduct challenged in this case. See In re Linerboard Antitrust Litig., 2004 WL 1221350,

at *18 (E.D. Pa. June 2, 2004) (noting that service awards were “particularly appropriate in this

case because there was no preceding governmental action alleging a conspiracy”). Plaintiffs

propose below a schedule for the filing of the request for attorneys’ fees, reimbursement of

reasonable expenses, and service awards for the Class Representatives.

III.    THE PROPOSED SETTLEMENTS MEET THE STANDARD FOR
        PRELIMINARY APPROVAL

        As the Seventh Circuit has recognized, “[f]ederal courts naturally favor the settlement of

class action litigation.” Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996). Settlement “minimizes

the litigation expense of both parties and also reduces the strain such litigation imposes upon

already scarce judicial resources.” Lechuga v. Elite Eng’g, Inc., 559 F. Supp. 3d 736, 744 (N.D.

Ill. 2021) (internal citations omitted). Approval of a proposed class action settlement proceeds in



9
  Courts in this Circuit have awarded comparable service awards for class representatives in other class
action cases. See, e.g., Allegretti v. Walgreen Co., 2022 WL 484216, at *2 (N.D. Ill. Jan. 4, 2022)
(approving $15,000 service award to each class representative); Daluge v. Cont’l Cas. Co., 2018 WL
6040091, at *3 (W.D. Wis. Oct. 25, 2018) (approving $17,500 service award to each class
representative); Hale v. State Farm Mut. Auto Ins. Co., 2018 WL 6606079, at *15 (S.D. Ill. Dec. 16,
2018) (approving service awards of $25,000 per class representative) (collecting cases); Slaughter v.
Wells Fargo Advisors, LLC, 2017 WL 3128802, at *3 (N.D. Ill. May 4, 2017) (approving $175,000
service award to each class representative); In re FedEx Ground Package Sys., Inc. Emp. Practices Litig.,
251 F. Supp. 3d 1225, 1245 (N.D. Ind. 2017) (approving $15,000 service awards to each class
representative).
                                                   15
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two steps. First, the court grants preliminary approval to the settlement and provisionally certifies

a settlement class. Second, after notice of the settlement is provided to the class and the court

conducts a fairness hearing, the court may grant final approval of the settlement. See Manual for

Complex Litigation (Fourth), § 21.63 (“Manual”).

        Under Fed. R. Civ. P. 23(e), a class action settlement may be finally approved if it is

“fair, reasonable and adequate” after analysis of the factors outlined in Rule 23(e)(2). At the

preliminary approval stage, by contrast, a court need only assess whether the settlement is

“within the range of possible approval.” Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir.

1982); see also In re Tiktok, Inc., Consumer Privacy Litig., 565 F. Supp. 3d 1076, 1083 (N.D. Ill.

2021) (court need only “ascertain whether there is any reason to notify the class members of the

proposed settlement and to proceed with a fairness hearing [and] not to conduct a full-fledged

inquiry into whether the settlement meets Rule 23(e)’s standards” (internal citations and

quotations omitted)). In making this assessment, courts perform “a more summary version of the

final fairness inquiry” at the preliminary approval stage. Id. at *21; see also In re NCAA Student-

Athlete Concussion Injury Litig., 314 F.R.D. 580, 603 (N.D. Ill. 2016) (“Balancing the fairness

factors in a summary fashion [] is appropriate on preliminary approval.”).

        At preliminary approval, courts consider the following five factors: “the strength of

plaintiff’s case compared to the settlement amount, the complexity, length, and expense of the

litigation, any opposition to settlement, the opinion of competent counsel, and the stage of the

proceedings (including the amount of discovery completed) at the time of the settlement.”

Guzman v. Nat’l Packaging Servs. Corp., 2022 U.S. Dist. LEXIS 37362, at *4-*5 (E.D. Wis.

Mar. 3, 2022); TikTok, 565 F. Supp. 3d at 1084 (listing same factors). “The most important

factor . . . is the strength of plaintiff’s case on the merits balanced against the amount offered in

                                                  16
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the settlement.” Id.; see also Lucas v. Vee Pak, Inc., 2017 WL 6733688, at *8 (N.D. Ill Dec. 20,

2017). Consideration of the relevant factors, as shown below, supports preliminarily approving

the Settlement Agreements and authorizing notice to the Settlement Class.

        A.      The Strength of Plaintiffs’ Case Compared to the Terms of the Settlements

        The first factor, which balances the strength of the class’s claims on the merits against the

value conferred by the proposed settlement, is satisfied here. While district courts often “assess

the net expected value of continued litigation” by quantifying the range of possible outcomes as

part of this analysis, Lucas, 2017 WL 6733688, at *8, the Seventh Circuit has held that courts

need not engage in such quantification “where there are other reliable indicators that the

settlement reasonably reflects the merits of the case.” TikTok, 565 F. Supp. 3d at 1087 (quoting

Kaufman v. Am. Express Travel Related Servs. Co., 877 F.3d 276, 285 (7th Cir. 2017)). Such

reliable indicators are present where, as here, the settlement was reached through arms’ length

negotiations, highly experienced counsel negotiated the settlement, and substantial discovery has

enabled the parties to analyze the strengths and weaknesses of the case. For example, in TikTok,

because such factors were present, the court concluded that it “need not undertake [a] mechanical

mathematical valuation,” and instead recognized that the proposed settlement ensured

meaningful value to the class members as compared to the risks of seeking a better outcome at

trial. TikTok, 565 F. Supp. 3d at 1088.10

        Here, after significant document discovery, arms’ length negotiations were engaged in by

highly experienced counsel, aided by highly respected mediators, and no suspicious



10
  See also Wong v. Accretive Health, Inc., 773 F.3d 859, 864 (7th Cir. 2014) (when there are no
“suspicious circumstances” surrounding a settlement reached through arms’ length negotiations by
experienced counsel after the parties have sufficiently explored the merits of the case a court may
preliminarily approve a settlement without quantifying the value of continued litigation).
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circumstances are present. Jan. 23, 2024 Joint Decl. ¶¶ 19, 24. The Settlements achieve both a

significant financial recovery (individually and collectively) and they require each Settling

Defendant to complete certain additional, limited discovery.

       At the same time, the contemplated Settlements do not reduce Plaintiffs’ ultimate

potential recovery in this case, as the non-settling Defendants remain jointly and severally liable

for all of the alleged damages caused by all of the Defendants’ alleged collusion. Moreover,

Plaintiffs believe that the remaining Defendants have assets sufficient to pay any damages

award. See id. ¶ 8.

       Accordingly, this factor weighs in favor of preliminary approval.

       B.      The Complexity, Length, and Expense of Continued Litigation

       When settlement enables the parties to avoid the costs and risks of litigating complex

issues, this factor weighs in favor of preliminary approval. Lucas, 2017 WL 6733688, at *12.

The Settlements reduce the expense associated with prosecuting the case, narrow the number of

adversaries that Plaintiffs face, ensure at least some monetary recovery for Settlement Class

members, and increase the likelihood of further settlements. The Settling Universities’

agreements to complete certain discovery, moreover, is also a relevant factor. Id. Accordingly,

this factor weighs in favor of preliminary approval.

       C.      The Amount of Opposition to the Settlements

       While the reaction of the Settlement Class can only be determined after the distribution of

notice, the Representative Plaintiffs have all affirmed support for the Settlements. Jan. 23, 2024

Joint Decl. ¶ 7. If, upon the issuance of notice, objections are filed, the Court can consider them

in determining whether to grant final approval. See Lucas, 2017 WL 6733688, at *12.




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          D.     The Opinion of Competent Counsel

          Courts often defer to the judgment of experienced counsel who have engaged in arms’

length negotiations, understanding that vigorous, skilled negotiation protects against collusion

and advances the fairness interests of Fed R. Civ. P. 23(e). See, e.g., TikTok, 565 F. Supp. 3d at

1091 (plaintiffs’ “well qualified” counsel attested to their belief that the settlement was fair,

reasonable and adequate); Lucas, 2017 WL 6733688, at *12 (plaintiffs’ counsel had “extensive

experience” in subject matter of litigation and believed settlement to be in the best interest of the

class).

          Settlement Class Counsel believe that the Settlements are fair and in the best interests of

the Settlement Class. Jan. 23, 2024 Joint Decl. ¶¶ 8, 25-26. Settlement Class Counsel collectively

have decades of experience in antitrust litigation, including helping to spearhead the original

Overlap Group case successfully prosecuted by the U.S. Department of Justice against the

predecessor to the 568 Presidents Group. Id. ¶¶ 30-31; Mem. ISO Mot. for Appt. of Interim Lead

Counsel, ECF No. 88 at 4-12;11 Gilbert Decl., ECF No. 87-2, ¶¶ 4-8. Settlement Class Counsel

have applied their well-honed litigation skills, along with their years of experience handling

substantial class action and antitrust cases, during settlement negotiations. They believe that the

Settlements represent (individually and collectively) an excellent result. Accordingly, this factor

weighs in favor of preliminary approval.

          E.     The Stage of the Proceedings

          The importance of this factor relates to whether Settlement Class Counsel has “access to




11
  The Court previously denied Plaintiffs’ Motion for Appointment of Interim Lead Counsel without
prejudice. ECF No. 182. It subsequently appointed proposed Settlement Class Counsel in the University
of Chicago Preliminary Approval Order. See ECF Nos. 428 ¶ 5 (moving for the appointment of the three
proposed firms as interim co-lead counsel); ECF No. 439 (granting motion).
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sufficient information such that they could effectively represent the Class.” Schulte v. Fifth Third

Bank, 805 F. Supp. 2d 560, 588 (N.D. Ill. 2011). The relevant inquiry is not how much formal

discovery occurred—or indeed if any formal discovery occurred—but rather, “how additional

discovery would have been in the interest of the class or would have resulted in a better

settlement.” Id. (cleaned up). The proposed Settlements occur in the latter third of the lengthy

period of fact discovery. The parties thus have had sufficient opportunity to assess the strengths

and weaknesses and “place value on their respective positions in this case.” In re Cap. One Tel.

Consumer Prot. Act Litig., 80 F. Supp. 3d 781, 793 (N.D. Ill. 2015). Accordingly, this factor

weighs in favor of preliminary approval.

       F.      The Revised Plan of Allocation Is Fair, Reasonable, and Adequate

       The proposed Revised Plan of Allocation, Ex. 7 to Jan. 23, 2024 Joint Decl., uses

primarily the same procedure to allocate the Net Settlement Fund as the plan the Court

preliminarily approved for the University of Chicago Settlement, Ex. A to Revised Plan of

Allocation. See ECF No. 439 (approving plan of allocation). Indeed, the Revised Plan of

Allocation incorporates the Plan of Allocation the Court approved for the University of Chicago

Settlement. Revised Plan at 2. The only exception is that, as part of the Second Tranche

Settlement Agreements, the parties have agreed that Plaintiffs would seek leave of Court to

disburse excess funds to a worthy cy pres recipient whose goal is to increase access to higher

education for underprivileged families in a situation where it would not be cost effective or

administratively efficient to redistribute any excess funds to the authorized claimants. See id.

       The Revised Plan would allocate the Net Settlement Fund to members of the Settlement

Class in proportion to the injuries each allegedly suffered due to the challenged conduct. The

Plan is fair, reasonable, adequate, and efficient. “The same standards of fairness, reasonableness

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and adequacy that apply to the settlement apply to the Plan of Allocation.” Retsky Family Ltd.

P’ship v. Price Waterhouse LLP, 2001 WL 1568856, at *3 (N.D. Ill. Dec. 10, 2001).12 “Federal

courts have held that an allocation plan that reimburses class members based on the extent of

their injuries is generally reasonable.” Lucas, 2017 WL 6733688, at *13 (collecting cases).

        As described above and in the Revised Plan, the “Net Price,” as that term is used here,

includes the price of tuition, fees, room, and board minus all need-based and other forms of aid

(excluding loans). See Ex. A to Revised Plan, at 3. Plaintiffs allege that Class members suffered

antitrust injury (and damages) because they paid artificially inflated Net Prices to Defendants

due to the challenged conduct. The website of the 568 Group acknowledged that one of its main

goals was “to reduce much of the variance in need analysis results,” to “diminish or eliminate . . .

divergent results,” and to do so in a “consistent manner.” Id. at 2-3.

        The Revised Plan proposes to use publicly available average annual Net Prices charged

by each Defendant for each applicable academic year during the Class Period, as published by

the U.S. Department of Education. These published prices will serve as estimates of the net

amounts paid by Claimants at each school. Id. at 4-5.

        The challenged conduct allegedly artificially inflated the Net Price Class members paid to

attend each Defendant for each term a student attended. Given that, and also the evidence that the

challenged conduct sought to effect Net Prices in a “consistent manner,” it is reasonable to

conclude, for purposes of the Revised Plan, that Claimants suffered injury in rough proportion to

the average Net Price charged by each school during the years Claimants attended. Id. at 3. In



12
   See also Heekin v. Anthem, Inc., 2012 WL 5472087, at *3 (S.D. Ind. Nov. 9, 2012) (“As with the
approval of a settlement, courts must determine whether the plan for allocation of settlement funds is fair,
reasonable, and adequate.”) (citing Summers v. UAL Corp. ESOP Comm., 2005 WL 3159450, at *2 (N.D.
Ill. Nov. 22, 2005)).
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other words, because the alleged overcharge is, roughly, a fixed percentage amount of the Net

Price paid, a reasonable measure of the injury to each Claimant is the average Net Price each

Defendant charged during each year or term that Claimant attended. Id. As a result, a fair and

efficient way to allocate the Net Settlement Fund would be to ensure that each Claimant receives

its pro rata share of the Net Settlement Fund in proportion to the average Net Price charged by

the Defendant for each year or term a Claimant attended that institution. Id. at 3-4.

       At a later stage in the process, after final approval, Claimants who provide their addresses

to the Claims Administrator will be provided pre-populated Claims Forms listing the Net Price

charged by their respective schools during the periods they attended. To compute each

Claimant’s pro rata share, the Claims Administrator will do the following. First, the Claims

Administrator would determine, for each Claimant, the number of years (or fractions thereof)

that the Claimant paid a Defendant for cost of attendance during the Class Period. The Claims

Administrator, on a Claimant-by-Claimant basis, would then assign to each Claimant the average

annual Net Price charged by that Defendant for each year the Claimant attended (or fraction

thereof) based on publicly available aggregated pricing data. The Net Prices assigned for each

Claimant would be adjusted for fractions of years, where a student may not have attended for an

entire school year. The Claims Administrator would then sum the average Net Prices over all the

years for each Claimant, up to a maximum of four full academic years per Claimant. That sum

would be the numerator of each Claimant’s pro rata allocation computation. Second, the Claims

Administrator would add together all of the numerators for all Claimants, and that sum would

serve as the denominator. Third, the Claims Administrator would divide the numerator from the

first step for each Claimant by the denominator from the second step. That fraction would be the

pro rata share for each Claimant. Fourth, and finally, to compute the total allocated sum for each

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Claimant, the Claims Administrator would multiply the fraction from the third step for each

Claimant by the Net Settlement Fund, generating the dollar value of each Claimant’s total

allocation from the Net Settlement Fund. Id. at 6.

        Plans of allocation like this one, recommended by experienced Settlement Class Counsel

(in consultation with their consultants),13 which distribute settlement funds based on a pro rata

share of purchases, are routinely approved because they approximate the amount of relative

damage sustained by each Settlement Class member.14 Settlements in antitrust cases are




13
   See also Shah v. Zimmer Biomet Holdings, Inc., 2020 WL 5627171, at *6 (N.D. Ind. Sept. 18, 2020)
(“When formulated by competent and experienced counsel, a plan for allocation of net settlement
proceeds need have only a reasonable, rational basis in order to be fair and reasonable”) (citation and
internal quotation marks omitted); Meredith Corp. v. SESAC, LLC, 87 F. Supp. 3d 650, 667 (S.D.N.Y.
2015) (“An allocation formula need only have a reasonable, rational basis, particularly if recommended
by experienced and competent class counsel.”) (collecting cases) (cleaned up); accord In re Auto. Parts
Antitrust Litig., 2019 WL 7877812, at *1 (E.D. Mich. Dec. 20, 2019).
14
   See also In re High-Tech Emp. Antitrust Litig., 2015 WL 5159441, at *6 (N.D. Cal. Sept. 2, 2015) (“A
plan of allocation that reimburses class members based on the extent of their injuries is generally
reasonable.”) (quoting In re Oracle Sec. Litig., 1994 WL 502054, at *1 (N.D. Cal. June 18, 1994)); In re
Packaged Ice Antitrust Litig., 2011 WL 6209188, at *15 (E.D. Mich. Dec. 13, 2011) (“Courts generally
consider plans of allocation that reimburse class members based on the type and extent of their injuries to
be reasonable.”) (quoting Meijer, Inc. v. 3M, 2006 WL 2382718, at *17 (E.D. Pa. Aug. 14, 2006));
Sullivan v. DB Invs., Inc., 667 F.3d 273, 328 (3d Cir. 2011) (same) (internal quotation omitted); 4 Alba
Conte & Herbert Newberg, Newberg on Class Actions § 12.35, at 350 (4th ed. 2002) (noting that pro-rata
allocation of a settlement fund “is the most common type of apportionment of lump sum settlement
proceeds for a class of purchasers” and “has been accepted and used in allocating and distributing
settlement proceeds in many antitrust class actions”); Summers, 2005 WL 3159450, at *2 (“Given that the
settlement funds in the instant action will be disbursed on a pro rata basis to all class members, we find
that the allocation plan is reasonable and, thus, we grant Plaintiffs’ motion for approval of the allocation
plan.”); Beneli v. BCA Fin. Servs., Inc., 324 F.R.D. 89, 105-06 (D.N.J. 2018) (“In particular, pro rata
distributions are consistently upheld, and there is no requirement that a plan of allocation differentiat[e]
within a class based on the strength or weakness of the theories of recovery.”) (citation and internal
quotation marks omitted); Packaged Ice, 2011 WL 6209188, at *15 (“Typically, a class recovery in
antitrust or securities suits will divide the common fund on a pro rata basis among all who timely file
eligible claims, thus leaving no unclaimed funds.”) (quoting 3 Newberg on Class Actions § 8:45 (4th ed.
2011)).

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commonly distributed to direct purchaser classes based on estimates of a purchaser’s pro rata

share.15

        G.      Angeion Is an Appropriate Settlement Claims Administrator

        The Court previously appointed Angeion as the administrator for the University of

Chicago Settlement (ECF No. 439, at ¶ 8), and Plaintiffs respectfully submit that the Court

similarly appoint Angeion to oversee the administration of the Second Tranche Settlements,

including disseminating notice to the Settlement Class, calculating each Settlement Class

Member’s pro rata share of the Net Settlement Fund, and distributing the funds. Angeion is an

experienced settlement and claims administration firm with sophisticated technological

capabilities and is staffed by personnel well-versed in antitrust issues and class action litigation.

See Aug. 14, 2023 Weisbrot Decl. ¶¶ 1-10 (ECF No. 428-7).

        Angeion, with oversight from Settlement Class Counsel and Plaintiffs’ economic

consultants, will handle all aspects of providing notice to potential members of the Settlement

Class and administering their claims, including emailing, mailing and otherwise distributing the

notice, managing a call center and settlement website to handle all questions regarding

completion and submission of the claim forms, physically processing the claims, informing

Claimants about the completeness or possible deficiency of their claims, and ultimately

distributing the Net Settlement Fund, subject to Court approval.



15
  See, e.g., In re Aftermarket Filters Antitrust Litig., No. 08-cv-4883, ECF No. 1082 (N.D. Ill. Mar. 20,
2014) (ordering pro rata distribution of settlement funds); In re Plasma-Derivative Protein Therapies
Antitrust Litig., 1:09-cv-07666, ECF No. 703 (N.D. Ill. Apr. 16, 2014) (approving pro rata Plan of
Allocation, as described in ECF No. 696, Ex. 1 ¶¶ 18-19); In re Brand Name Prescription Drugs Antitrust
Litig., 1999 WL 639173, at *4 (N.D. Ill. Aug. 17, 1999) (approving pro rata distribution of funds based
on claimant’s share of qualifying purchases at issue); accord In re Namenda Direct Purchaser Antitrust
Litig., 462 F. Supp. 3d 307, 316 (S.D.N.Y. 2020); In re Loestrin 24 FE Antitrust Litig., No. 1:13-md-
02472, ECF No. 1462 (D.R.I. Sept. 1, 2020); In re Solodyn (Minocycline Hydrochloride) Antitrust Litig.,
No. 14- md-2503, ECF No. 1179 (D. Mass. July 18, 2018).
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       H.      The Proposed Form and Manner of Notice Are Appropriate

       Under Rule 23(e), class members are entitled to reasonable notice of a proposed

settlement before it is finally approved by the Court, and to notice of the final Fairness Hearing.

See Manual §§ 21.312, 21.633. For 23(b)(3) classes, the court must “direct to class members the

best notice that is practical under the circumstances, including individual notice to all members

who can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). The two

components of notice are: (1) the form of the notice; and (2) the manner in which notice is sent to

class members.

       The form of notice for the Settlements is substantively the same as the notices the Court

preliminarily approved for the University of Chicago Settlement, except that (a) the revised

forms of notice are updated to include information on all the Settlements to date, (b) the revised

notices include the new proposed Settlement Class Definition and revised forms of releases in

the Second Tranche Settlement Agreements, and (c) the revised notices would update the

deadlines for the rest of the settlement approval process. Compare ECF Nos. 428-9, 428-10 with

Exs. A & B to Jan. 22, 2024 Weisbrot Decl.

       Plaintiffs request the Court approve the Revised Notice Plan described in detail below.

               1.      Forms of Notice.

       The proposed revised forms of notice are updated and revised versions of the notices this

Court approved as part of the University of Chicago Settlement. As with that settlement, the

proposed revised long-form notice here, Jan. 22, 2024 Weisbrot Decl., Ex. B, is designed to alert

Settlement Class members to the proposed Settlements (including the University of Chicago

Settlement) by using a bold headline, and the plain language text provides important information

regarding the terms of all the proposed settlements, including the nature of the action; the


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definition of the Settlement Class provisionally certified; the identity of the Settling Universities

(and University of Chicago); the significant terms of all the proposed settlements, including the

total amount the Settling Universities (and University of Chicago) have agreed to pay; that a

Settlement Class member may object to all or any part of the proposed Settlements or Settlement

Class Counsel’s petition for attorneys’ fees and reimbursement of expenses, or the proposed

service awards for the named Plaintiffs; and the process and deadline for doing so, including

entering an appearance through an attorney if the Settlement Class member desires; that

Settlement Class members may exclude themselves from the Settlement Class, the consequences

of and process for doing so; the final approval process, including the schedule, for the proposed

Settlements (and the University of Chicago Settlement) and Settlement Class Counsel’s petition

for attorneys’ fees, request for reimbursement of litigation expenses; and the binding effect of a

final judgment on members of the Settlement Class.

       The proposed revised summary notice, Jan. 22, 2024 Weisbrot Decl., Ex. A, provides a

concise summary of the key aspects of all the Settlements, defines the Settlement Class, and

provides information about how to obtain more information about any aspect of the Settlements

(including the University of Chicago Settlement). Id. In addition, the proposed Revised Notice

Plan will include a settlement website (containing all the key settlement related documents,

including all the written settlement agreements and all filings relating to the settlements and fee

application), as well as toll-free contact information for the Claims Administrator. Jan. 22, 2024

Weisbrot Decl. ¶¶ 38-39.




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               2.     Manner of Notice.

       Plaintiffs propose to use the same manner of notice approved by the Court as part of the

University of Chicago Settlement. Compare Aug. 14, 2023 Weisbrot Decl., ECF No. 428-7, at

12-46 with Jan. 22, 2024 Weisbrot Decl. at 12-46. Plaintiffs incorporate by reference the

discussion of the manner of notice from the Memorandum of Law in Support of Plaintiffs’

Motion for Preliminary Approval. ECF No. 428-1 at 20-23.

       I.      Huntington Bank Is an Appropriate Escrow Agent

       The Court previously appointed Huntington as the Escrow Agent when it preliminarily

approved the University of Chicago Settlement. See ECF No. 439, ¶ 9. As explained in

Plaintiffs’ Memorandum of Law regarding the University of Chicago Settlement, Huntington is a

respected bank that has served as the escrow agent in many other antitrust class action cases. See

Mem. of Law in Support of Preliminary Approval, ECF No. 428-1, at 23. Plaintiffs respectfully

request the Court similarly appoint Huntington as the Escrow Agent for the Settlements, and that

the proposed Jan. 23, 2024 Escrow Agreement (Ex. 6 to Jan. 23, 2024 Joint Decl.) be approved

for that purpose.

       J.      The Proposed Schedule Is Fair and Should Be Approved

       Plaintiffs propose the following schedule for completing the approval process for the

Settlements:

              No later than 30 days after the date of the order preliminarily approving the
               Settlements (the “Order”), Angeion shall begin the process of providing notice to
               the Settlement Class, in accordance with the Revised Notice Plan;

              No later than 60 days after the date of the Order, Settlement Class Counsel shall
               file a motion for attorneys’ fees, unreimbursed litigation costs and expenses, and
               service awards for the Class Representatives, pursuant to the terms of the
               Settlement Agreements (including the University of Chicago Agreement).



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              By no later than 75 days after of the date of the Order, Settlement Class Members
               may, using the method set out in the revised long-form notice and the Settlement
               Agreements (including the University of Chicago Agreement), request exclusion
               from the Settlement Class or submit any objection to the proposed Settlements or
               to the proposed Revised Plan of Allocation summarized in the revised notice, or to
               Settlement Class Counsel’s request for attorneys’ fees and unreimbursed litigation
               costs and expenses, or to the request for service awards to the Class
               Representatives.

              No later than 90 days after the date of the Order, Settlement Class Counsel shall
               file all briefs and materials in support of final approval of all the Settlements,
               including, inter alia, (a) a report to the Court regarding the effectuation of the
               Revised Notice Plan, and notifying the Court of any objections or exclusions, and
               (b) a process for effectuating the Revised Plan of Allocation, including for
               deciding claims and distributing from the Net Settlement Fund.

              The Fairness Hearing shall take place at least 120 days after the Court’s entry of
               the Order.

       This schedule is fair to Settlement Class members since it provides ample time for

consideration of the Settlements and Settlement Class Counsel’s request for fees, costs, and

expenses before the deadline for submitting objections or exclusions. Specifically, Settlement

Class members will have the notice for 45 days before the deadline to object to the Settlements

and will have Settlement Class Counsel’s request for costs and expenses for more than two

weeks before the deadline to object to Settlement Class Counsel’s request for fees, costs, and

expenses, and to the request for service awards to the Class Representatives. In addition, the

schedule allows the full statutory period for the Settling Universities to serve their CAFA notices

pursuant to 28 U.S.C. § 1715, and for regulators to review the proposed Settlements and, if they

choose, advise the Court of their view.

IV.    THE REQUIREMENTS FOR CERTIFICATION OF A SETTLEMENT CLASS
       HAVE BEEN PROVISIONALLY MET

       Plaintiffs ask that the Court provisionally certify the Settlement Class as applicable to all

Settlements achieved to date, inclusive of the University of Chicago Settlement and the five

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Second Tranche Settlements. Plaintiffs rely upon, and incorporate as if set forth herein, the same

arguments and facts they presented in support of provisional class certification in Plaintiffs’ brief

for preliminary approval of the University of Chicago Settlement. See Mem. of Law in Support

of Preliminary Approval, ECF No. 428-1, at 24-33.

       The proposed Settlement Class is defined as follows:

       All U.S. citizens or permanent residents who have during the Class Period (a)
       enrolled in one or more of Defendants’ full-time undergraduate programs, (b)
       received at least some need-based financial aid from one or more Defendants, and
       (c) whose tuition, fees, room, or board paid to attend one or more of Defendants’
       full-time undergraduate programs was not fully covered by the combination of
       any types of financial aid or merit aid (not including loans) in any undergraduate
       year.16 The Class Period is defined as follows:

                      For Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern,
                       Notre Dame, Penn, Rice, Vanderbilt, Yale—from Fall Term 2003 through
                       the date the Court enters an order preliminarily approving the Settlement.

                      For Brown, Dartmouth, Emory—from Fall Term 2004 through the date the
                       Court enters an order preliminarily approving the Settlement.

                      For Caltech—from Fall Term 2019 through the date the Court enters an
                       order preliminarily approving the Settlement.

                      For Johns Hopkins—from Fall Term 2021 through the date the Court
                       enters an order preliminarily approving the Settlement.

Excluded from the Class are:

                      Any Officers17 and/or Trustees of Defendants, or any current or former
                       employees holding any of the following positions: Assistant or Associate
                       Vice Presidents or Vice Provosts, Executive Directors, or Directors of
                       Defendants’ Financial Aid and Admissions offices, or any Deans or Vice
                       Deans, or any employees in Defendants’ in-house legal offices; and


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   For avoidance of doubt, the Class does not include those for whom the total cost of attendance,
including tuition, fees, room and board for each undergraduate academic year, was covered by any form
of financial or merit aid (not including loans) from one or more Defendants.
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   For the avoidance of doubt, the Columbia University “Officers” excluded from the Class are members
of the Senior Administration of Columbia University, and do not include exempt employees of Columbia
University who are referred to as officers.
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                       the Judge presiding over this Action, his or her law clerks, spouse, and any
                        person within the third degree of relationship living in the Judge’s
                        household and the spouse of such a person.

Settlement Agreement ¶ 1(c). As noted above, for the purposes of the University of Chicago

Settlement, “the date the Court enters an order preliminarily approving the Settlement” shall be

considered the date of entry of an order pursuant to this motion and the class definition applicable to

the University of Chicago Settlement shall otherwise conform to the class definitions applicable to

the Second Tranche Settlements.

        A.      Settlement Class Counsel Meet the Requirements of Rule 23(g)

        Plaintiffs ask the Court to appoint Freedman Normand Friedland LLP, Gilbert Litigators

& Counselors PC, and Berger Montague PC as Settlement Class Counsel under Fed. R. Civ. P.

23(g) for the Second Tranche Settlements for the same reasons Plaintiffs set forth in their

briefing seeking preliminary approval for the University of Chicago Settlement: (i) these firms

have devoted substantial time, effort, and resources to the litigation on behalf of the proposed

class during approximately two years of hard-fought litigation; and (ii) counsel have extensive

experience in complex and class action litigation, including antitrust class actions. See Mem. of

Law in Support of Preliminary Approval, ECF No. 428-1, at 33-34; see also Jan. 23, 2024 Joint

Decl. ¶¶ 30-31; Aug. 14, 2023 Joint Decl., ECF No. 428-2 ¶¶ 31-57.

        B.      Named Plaintiffs Meet the Requirements of Rule 23(a)(4)

        Plaintiffs ask the Court to appoint Andrew Corzo, Sia Henry, Alexander Leo-Guerra,

Michael Maerlender, Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and

Cameron Williams as Settlement Class representatives under Fed. R. Civ. P. 23(a)(4) for the

Second Tranche Settlements for the same reasons Plaintiffs set forth in their brief seeking

preliminary approval for the University of Chicago Settlement: (i) Plaintiffs and Settlement


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Class members are current and former students at Defendant institutions, each of whom has a

similar interest in maximizing and recovering alleged overcharges they collectively suffered as a

result of the alleged conspiracy; and (ii) Plaintiffs have engaged in vigorous advocacy to date on

behalf of the Settlement Class, including responding to discovery, preparing for and sitting for

depositions, and considering and approving the settlement terms. See Mem. of Law in Support of

Preliminary Approval, ECF No. 428-1, at 29-30 (describing Plaintiffs’ qualifications as class

representatives for the Chicago Settlement); Jan. 23, 2024 Joint Decl. ¶¶ 7, 13 (describing

Plaintiffs’ efforts in prosecuting the lawsuit to date).

V.      CONCLUSION

        Plaintiffs respectfully request, for the foregoing reasons, that the Court grant Plaintiffs’

Motion and enter the proposed Order (in the form attached hereto), providing as follows:

        1.      Provisional certification of the proposed Settlement Class;

        2.      Provisional appointment of Plaintiffs as Class Representatives;

        3.      Appointment of Plaintiffs’ counsel as Settlement Class Counsel for the proposed
                Settlement Class;

        4.      Preliminary approval of the proposed Second Tranche Settlement Agreements;

        5.      Conforming the class definition applicable to the University of Chicago Settlement
                Agreement to the class definitions applicable to the Second Tranche Settlements;

        6.      Approval of the proposed Revised Notice Plan, including a set of revised long-
                form and summary notices, and a settlement website;

        7.      Pursuant to 34 C.F.R. § 99.37(a), finding that mailing addresses and email
                addresses in education records of current students of a Defendant constitute
                “directory information” and may be disclosed, without consent, to the Settlement
                Claims Administrator for purposes of providing class notice in this litigation if (a)
                the Defendant has previously provided public notice that the mailing addresses
                and email addresses are considered “directory information” that may be disclosed
                to third parties including public notice of how students may restrict the disclosure
                of such information, and (b) the student has not exercised a right to block
                disclosure of current mailing addresses or email addresses (“FERPA Block”).

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             Defendants shall not disclose from education records mailing addresses or email
             addresses subject to a FERPA Block;

      8.     Pursuant to 34 C.F.R. § 99.37(b), finding that mailing addresses and email
             addresses in education records of former students of a Defendant constitute
             “directory information” and may be disclosed, without consent, to the Settlement
             Claims Administrator for purposes of providing class notice in this litigation,
             provided that each Defendant continues to honor any valid and un-rescinded
             FERPA Block created while a student was in attendance;

      9.     Preliminary approval of the Revised Plan of Allocation;

      10.    Appointment of Angeion as Settlement Claims Administrator;

      11.    Appointment of Huntington as Escrow Agent for the funds from all the
             Settlements achieved to date and of the proposed Jan. 23, 2024 Escrow
             Agreement;

      12.    Approval and establishment of the Settlement Fund under the Settlement
             Agreement as a qualified settlement fund (“QSF”) pursuant to Internal Revenue
             Code Section 468B and the Treasury Regulations promulgated thereunder;

      13.    Staying of all litigation activity against the Settling Universities on behalf of the
             Settlement Class pending final approval or termination of the Settlements; and

      14.    Approval of a proposed schedule for the Settlements, including the scheduling of
             a Fairness Hearing during which the Court will consider: (a) Plaintiffs’ request for
             final approval of the Settlements and entry of a proposed order and final
             judgment; (b) Plaintiffs’ counsel’s application for attorneys’ fees, reimbursement
             of expenses, service awards, and payment of administrative costs; and (c)
             Plaintiffs’ request for dismissal of this action only against the Settling
             Universities with prejudice.



Dated: January 23, 2024                           Respectfully Submitted,

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